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A09I (Rev. 11/11) Criminal Complaint


                                    United States District Court                                           ^
                                                               for the                                              7^ 2013
                                                   Northem District of California


                  United States of America
                               V.


                      Carlos Jauregui



                                                                            3 19 7 0531 mag
                         Defendant(s)


                                                 CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief
On or about the date(s) of                   March 23,2019               in the county of               Sonoma                in the

     Northern         District of            California       , the defendant(s) violated:

            Code Section                                                    Offense Description
21 U.S.C.§ 843(b)                              Use of Communication Facility (Telephone) to Commit a Felony Drug
                                               Offense


                                               Maximum Penalties: 4 years imprisonment; $250,000 fine; 1 year supervised
                                               release; $100 special assessment; Potential deportation




         This criminal complaint is based on these facts:
See Attached Affidavit of DEA Special Agent Joseph A. Pittaluga




         S2f Continued on the attached sheet.


                                                                               ^             Complainant's signature

        Approved as to form            itJlihJ- ^
                                        AUSA Rezaei
                                                                                   Joseph A. Pittaluga, Special Agent, DEA
                                                                                              Printed name and title


Sworn to b^ior^me and signed in my presence.


Date:

                                         I                                                      Judge's signature

City and state:                 San Francisco, California                       Hon. Laurel Beeler, U.S. Magistrate Judge
                                                                                              Printed name and title
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